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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                            IN THE UNITED STATES DISTRICT COURT                            July 27, 2020
                            FOR THE SOUTHERN DISTRICT OF TEXAS                          David J. Bradley, Clerk
                                   HOUSTON DIVISION

TERRY KATZ,                                        §
                                                   §
                        Plaintiff,                 §
                                                   §
VS.                                                §    CIVIL ACTION NO. H-18-1347
                                                   §
INTEL PHARMA, LLC, NTEL PHARMA                     §
LLC, NTEL NUTRA, INC., TRUE VALOR                  §
VENTURES, LLC, and LANDON SUGGS,                   §
                                                   §
                        Defendants.                §


                                               ORDER

TO ALL COUNSEL OF RECORD:

Dear Counsel:

        The Houston Division of the Southern District of Texas has continued all criminal and civil

jury trials until at least September 8, 2020, due to the public safety concerns presented by

COVID-19. Given the current state of the pandemic in the Houston metropolitan area, it is

uncertain if jury trials will resume on September 8. Even if we are able to resume jury trials in the

near future, the criminal jury trials will take precedence over civil jury trials.

        The court knows how important it is to you and your clients to secure a just and speedy

resolution of your case. The court offers you the following options, starting in August 2020:

        1. a preferentially set Zoom or similar virtual bench trial;

        2. an in-person bench trial; or

        3. a hybrid Zoom and in-person bench trial.
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       Please let the court know at your earliest convenience if you would like to select any of

these options, and, if so, which one. The court will be flexible on scheduling.


               SIGNED on July 27, 2020, at Houston, Texas.


                                             ______________________________________
                                                                Lee H. Rosenthal
                                                         Chief United States District Judge




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